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 1   David M. Barkan (CA 160825 / barkan@fr.com)
     FISH & RICHARDSON P.C.
 2   500 Arguello Street, Suite 400
     Redwood City, CA 94063
 3   Tel: (650) 839-5070 / Fax: (650) 839-5071

 4   Robert Courtney (CA 248392 / courtney@fr.com)
     FISH & RICHARDSON P.C.
 5   60 South Sixth Street, Suite 3200
     Minneapolis, MN 55402
 6   Tel: (612) 335-5070

 7   A. Louis Dorny (CA 212054 / ldorny@tesla.com)
     TESLA, INC.
 8   3000 Hanover Street
     Palo Alto, CA 94304
 9   Tel: (510) 298-8516

10   Paul Margulies (pro hac vice / pmargulies@tesla.com)
     TESLA, INC.
11   800 Connecticut Ave. NW
     Washington, DC 20006
12   Tel: (202) 695-5388

13   Attorneys for Plaintiff, TESLA, INC.

14                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
15                                      SAN JOSE DIVISION

16   TESLA, INC.,                                     Case No. 5:24-cv-03615-EJD-VKD

17                  Plaintiff,
                                                      TESLA, INC.’S EMERGENCY MOTION
18          v.                                        FOR A TEMPORARY RESTRAINING
                                                      ORDER
19   MATTHEWS INTERNATIONAL
20   CORPORATION, a Pennsylvania corporation,         Date:       To be scheduled
                                                      Time:       To be scheduled
21                  Defendant.                        Place:      Courtroom 4, 5th Floor
                                                      Judge:      Hon. Edward J. Davila
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